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 1                             UNITED STATES DISTRICT COURT

 2                                      DISTRICT OF NEVADA

 3

 4    UNITED STATES OF AMERICA,                       )   2:10-cr-284-RLH-PAL-4
                                                      )
 5                     Plaintiff,                     )
                                                      )
 6                     vs.                            )   ORDER CONCERNING
                                                      )   ATTORNEY/CLIENT PRIVILEGE
 7    PATRICIA BASCOM,                                )
                                                      )
 8                     Defendant.                     )
                                                      )
 9
              In her “Motion to Withdraw Plea Bargain,” Ms. Bascom moved to withdraw her plea
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      based in part upon her allegations that prior attorneys rendered to her ineffective legal assistance.
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      In her affidavit in support of her motion, Ms. Bascom also described particular communications
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      with her prior attorneys and reprinted portions of those communications.
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              Because Ms. Bascom has put at issue the quality of representation she received from prior
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      attorneys and because she has chosen to share the details and substance of her communications
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      with those attorneys, the Court
16
              FINDS that communications between Ms. Bascom and her agents and Ms. Bascom’s prior
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      attorneys, including Mace Yampolsky (to the extent communications with him were ever
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      privileged), Michael Cristalli, and Brett Whipple, and their agents, are no longer privileged. It is
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              FURTHER ORDERED that those attorneys and their agents may describe and repeat to
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      the government the substance of all communications between Ms. Bascom and any of her agents
21
      and any of the attorneys and their agents.
22
              DATED this 11th day of January, 2012.
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                                                   UNITED STATES DISTRICT JUDGE
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